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                                 U.S. BANKRUPTCY COURT
                                  District of South Carolina

Case Number: 18-02495-dd



                                       Settlement Order



The relief set forth on the following pages, for a total of 3 pages including this page, is
hereby ORDERED.




       FILED BY THE COURT
           06/28/2018




                                                   David R. Duncan
                                                   Chief US Bankruptcy Judge
                                                   District of South Carolina


        Entered: 06/28/2018
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